                  Case 2:23-cv-01963-BJR Document 1 Filed 12/20/23 Page 1 of 3




 1   Jeffrey I. Hasson
     Hasson Law, LLC
 2   9385 SW Locust Street
     Tigard, OR 97223
 3   Phone: (503) 255-5352
     Facsimile: (503) 255-6124
 4   E-Mail: hasson@hassonlawllc.com
     Washington State Bar No. 23741
 5   Attorney for I.Q. Data International, Inc.

 6

 7

 8

 9

10                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
11                                       AT SEATTLE

12   LIZABETH GLASS AND BRIAN                           Case No.:
     REBESCHINI,
13                                                      NOTICE OF REMOVAL
                                    Plaintiffs,
14
            vs.
15
     CARROLL’S CREEK APARTMENTS
16   PROPERTY OWNER, LLC, JRK
     RESIDENTIAL GROUP, INC. DBA TWO
17   COAST LIVING and I.Q. DATA
     INTERNATIONAL, INC.,
18
                                    Defendants.
19

20          Please take notice that defendant I.Q. Data International, Inc. (“I.Q. Data”) hereby
21   removes this action from the Superior Court in and for King County, State of Washington to the
22   United States District Court for the Western District of Washington at Seattle.
23          1.       Defendant I.Q. Data is a party in a civil action brought against it in the Superior
24   Court in and for King County, State of Washington entitled: "LIZABETH GLASS AND BRIAN
25   REBESCHINI, Plaintiffs, v. CARROLL’S CREEK APARTMENTS PROPERTY OWNER,
26   LLC, JRK RESIDENTIAL GROUP, INC. DBA TWO COAST LIVING and I.Q. DATA

      NOTICE OF REMOVAL -- 1                                                     HASSON LAW, LLC
                                                                                    9385 SW Locust Street
      Case No.                                                                        Tigard, OR 97223
                                                                                Telephone No. (503) 255-5352
                                                                                Facsimile No. (503) 255-6124
                   Case 2:23-cv-01963-BJR Document 1 Filed 12/20/23 Page 2 of 3




 1   INTERNATIONAL, INC., Defendant, No. (Unfiled)". A copy of “Plaintiffs’ Complaint for

 2   Violations of 15 U.S.C. § 1692 et seq. and RCW Chapters 19.16 and 19.86 et seq.” and

 3   Summons to each Defendant in that action are attached to this notice and constitute all process,

 4   pleadings, and orders delivered to a representative of I.Q. Data in that action up to the present

 5   date.
 6            2.      Also attached are the consents of Carroll’s Creek Apartments Property Owner,

 7   LLC and JRK Residential Group, Inc. dba Two Coast Living to Removal.
 8            3.      The state court action was commenced when I.Q. Data was served with Summons

 9   and Complaint on November 29, 2023 for an action captioned in the Superior Court of the State

10   of Washington for the County of King.

11            4.      Defendants have filed no pleadings in this cause.

12            5.      This notice of removal is filed within 30 days after receipt by I.Q. Data of a copy

13   of the initial pleading setting forth the claim for relief upon which such action or proceeding is
14   based.

15            6.      This is an action of civil nature over which this court has original jurisdiction

16   pursuant to 15 USC § 1692k in that it is a liability allegedly created under the Fair Debt

17   Collection Practices Act, 15 USC § 1692 et seq.,

18            7.      This notice is signed pursuant to FRCP 11.

19            Dated: December 20, 2023.

20                                                   s/ Jeffrey I. Hasson
                                                     Jeffrey I. Hasson, WSBA#23741
21                                                   Hasson Law, LLC
                                                     Phone: (503) 255-5352
22                                                   Attorney for I.Q. Data International, Inc.

23

24

25

26

      NOTICE OF REMOVAL -- 2                                                      HASSON LAW, LLC
                                                                                     9385 SW Locust Street
      Case No.                                                                         Tigard, OR 97223
                                                                                 Telephone No. (503) 255-5352
                                                                                 Facsimile No. (503) 255-6124
               Case 2:23-cv-01963-BJR Document 1 Filed 12/20/23 Page 3 of 3




 1                                        Certificate of Service

 2          I hereby certify that on December 20, 2023, I electronically filed the foregoing with the
     Clerk of the Court using the CM/ECF System which will send notification of such filing to the
 3   following: T. Tyler Santiago, Jason D. Anderson, Jessica Kamish and I hereby certify that I have
     mailed by United States Postal Service the document to the following non-CM/ECF participants:
 4

 5                                               s/ Jeffrey I. Hasson
                                                 Jeffrey I. Hasson, WSBA#23741
 6                                               Attorney for I.Q. Data
                                                 Hasson Law, LLC
 7                                               9385 SW Locust Street
                                                 Tigard, OR 97223
 8                                               Phone: (503) 255-5352
                                                 Facsimile: (503) 255-6124
 9                                               E-Mail: hasson@hassonlawllc.com

10

11
12

13

14

15

16

17

18
19

20

21
22

23

24

25

26

      NOTICE OF REMOVAL -- 3                                                 HASSON LAW, LLC
                                                                                9385 SW Locust Street
      Case No.                                                                    Tigard, OR 97223
                                                                            Telephone No. (503) 255-5352
                                                                            Facsimile No. (503) 255-6124
